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GAS 245B           (Rev. 11/16)Judgment in a Criminal Case
DC Custody TSR



                                           United States District Court
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                           SAVANNAH DIVISION

                 UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                     V.

                           Eugene Curtis
                                                                                     Case Number:              4:16CR00224-6
                                                                                     USM Number:               21548-021

                                                                                     Murdoch Walker
                                                                                     Defendant's Attorney
THE DEFENDANT:

^ pleaded guilty to Count            33
□ pleaded nolo contendere to Count(s)                          which was accepted by the court.

□ was found guilty on Count(s)                          aher a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                      Nature of Offense                                                                Offense Ended        Count


21 U.S.C. § 843(b) and               Use of a communication facility                                                December 28,2015         33
21 U.S.C. § 843(d)



      The defendant is sentenced as provided in pages 2 through                       of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
IS Counts         I, 31, and 32                     □ is     IS are dismissed as to this defendant on the motion of the United States.
             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                              FebnJaryLl3,.20I7
                                                                             Date of Imposition of Judgment


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                                                                              Judge, U.S. District Court
                                                                              Name and Title of Judge



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                                                                              Date
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